Case 1:17-cv-00548-MSM-PAS Document 84 Filed 11/20/20 Page 1 of 2 PageID #: 701




                    IN THE DISTRICT COURT OF THE UNITED STATES
                         FOR THE DISTRICT OF RHODE ISLAND


 DAN DIAMANT, Plaintiff

       vs.                                          CA No. 17- cv548 JJM-PAS

 UTGR, Inc. dba Twin River Casino,
 Et al.




                          PLAINTIFF’S PROPOSED VOIR DIRE


       Now comes the Plaintiff, by and through counsel, and proposes the following questions

 for empanelment:

    1. Have you ever visited a casino? If so, where? How many times? Have you ever visited

       Twin River?

    2. What games do you like to play? Do you play blackjack? Have you ever played

       blackjack?

    3. Are you familiar with the term “card counting?” What do you understand it to mean?

    4. You are going to hear during the course of this trial that card counting—keeping track in

       your head of cards that have been played in order to help determine the odds of which
Case 1:17-cv-00548-MSM-PAS Document 84 Filed 11/20/20 Page 2 of 2 PageID #: 702




       cards are coming next—is not a crime. It is not cheating. It is legal, even though you

       will hear that casinos don’t like card counters. What do you think about this fact?

    5. Have you or a close family member ever worked in law enforcement?

    6. Do you believe that people who work in law enforcement are more trustworthy or

       believable than other people? In other words, would you trust the word of a police

       officer more than other individuals?

    7. Please tell us where you get your news. Do you get a daily newspaper? Website?

       Television?

    8. Do you use social media? Which ones?

    9. Have you ever traveled overseas? Where? Have you ever visited Israel? Ever met

       someone from Israel?

    10. What do you think about the conflict between Palestinians and the State of Israel?




                                              _/S/_Thomas G. Briody__
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                                        CERTIFICATION

        The undersigned certifies that a true copy of these proposed voir dire questions were
    served via electronic mail and via ECF Paul R. Crowell, Engleberg and Bratcher, 100 High
    Street, Boston, MA 02110, Brenda Baum, Rhode Island Department of Attorney General,
    150 S. Main Street, Providence, RI 02903, and Marc DeSisto, 60 Ship Street, Providence, RI
    02903 on 20th of November, 2020.

                                              ___/s/ Thomas G. Briody___
